 

CaSe 1207-CV-01876-ZLW-BNB DOCUment 45 Filed 06/12/09 USDC CO|OI’adO Pag€ l Of l

UNITED STATES DISTRICT COURT
FOR THE DISTRlCT OF COLORADO

Civil Ac£ion No. 07-cv-01876-ZLW-BNB

GERALDINE SW]NIMER, f/k/a Geraldine Mossman, individua}ly, and as next friend of
SEAN SWIMMER, f/k/a Sean Mossman, a minor;

Plaintiffs,
v.

THE UNITED STATES OF AMIERICA,

Defendanc.

 

ORDER FOR DISMISSAL WITH PREJUDICE

 

THIS MATTER comes before the Court on the Stipulation to Dismiss with Prejudice filed by
the parties; and the Court being fully advised in the premises

IT IS HEREBY ORDERED that the above-captioned action is dismissed with prejudice, each
parry to pay their own costs and attorney’s fees.

DATED this l Z~day of , 2009.

BY THE COURT:

 

 

 

